                           UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


 IN RE: Richele A Frechen                                            CHAPTER 13
                                  Debtor(s)                          BK. NO. 24-01545 MJC
 PENNYMAC LOAN SERVICES, LLC
                     Movant
           vs.

 Richele A Frechen
                                  Respondent(s)


                                    CERTIFICATION OF SERVICE

         I, the undersigned, hereby certify that the foregoing Objection to Confirmation was served by first

 class mail, postage pre-paid, upon the parties listed below on July 30, 2024.


 Jack N. Zaharopoulos (via ECF)
 8125 Adams Drive, Suite A
  Hummelstown, PA 17036

 John J. Martin Esq. (via ECF)
 1022 Court Street
 Honesdale, PA 18431

 Richele A Frechen
 183 Freethy Pond Road
 Honesdale, PA 18431

 Date: July 30, 2024

                                                  By: _/s. Brent J. Lemon_____________
                                                       Brent J. Lemon, Esquire
                                                      Attorney I.D. 86478
                                                       KML Law Group, P.C.
                                                      BNY Mellon Independence Center
                                                       701 Market Street, Suite 5000
                                                       Philadelphia, PA 19106
                                                       215-627-1322
                                                       blemon@kmlawgroup.com
                                                       Attorney for Movant/Applicant




Case 5:24-bk-01545-MJC            Doc 14-3 Filed 07/30/24 Entered 07/30/24 15:09:55                    Desc
                                  Certificate of Service Page 1 of 1
